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                  Exhibit 3
           Declaration of Class Counsel




In re: Equifax Inc. Customer Data Security Breach Litigation,
              No. 17-md-2800-TWT (N.D. Ga.)


 Plaintiffs’ Motion to Direct Notice of Proposed Settlement
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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


                                                   MDL Docket No. 2800
     In re: Equifax Inc. Customer                  No. 1:17-md-2800-TWT
    Data Security Breach Litigation
                                                   CONSUMER ACTIONS

                                              Chief Judge Thomas W. Thrash, Jr.


            CLASS COUNSEL’S DECLARATION IN SUPPORT
           OF PLAINTIFFS’ MOTION TO DIRECT NOTICE OF
               PROPOSED SETTLEMENT TO THE CLASS

      Kenneth S. Canfield, Amy E. Keller, and Norman E. Siegel declare as

follows:

      1.     We were appointed by this Court to serve as Co-Lead Counsel for the

Consumer Plaintiffs and Interim Class Counsel in the above-captioned MDL.

Along with Roy E. Barnes, who serves as Co-Liaison Counsel with lead

responsibilities, we have led the Plaintiffs’ efforts in the consumer track since our

appointment on February 9, 2018. We have personal knowledge of all the matters

addressed in this Declaration, including the negotiations that culminated with the

filing of the proposed settlement now before the Court.
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      2.    Plaintiffs were represented in the negotiations by a Settlement

Committee chaired by Mr. Siegel, who in that capacity had overall responsibility

for the negotiations and took the lead on our side of the table. Mr. Canfield and

Ms. Keller are members of the committee, as are Mr. Barnes and Cam Tribble of

the Barnes Law Group. The other members of our negotiating team are Andrew

Friedman of Cohen Milstein Sellers & Toll PLLC in Washington, D.C.; Adam

Levitt of DiCello Levitt & Gutzler LLC of Chicago, Illinois; James Pizzirusso of

Hausfeld, LLP in Washington, D.C.; and John Yanchunis of Morgan & Morgan

Complex Litigation Group in Tampa, Florida. The negotiating team was assisted

and advised by the Plaintiffs’ Steering Committee appointed by the Court,

including as needed by other lawyers at their firms. David Berger of the Gibbs Law

Group in San Francisco, who has developed a deep expertise in technology

matters, provided particular assistance in connection with the business practice

changes that are mandated by the settlement.

      3.    Collectively, the lawyers on our negotiating team have a long history

of leading some of the country’s most complex civil litigation; have been

recognized by courts and national publications for their knowledge and experience

in data breach cases; and are responsible for what until this case were the largest

data breach settlements in history, including Home Depot, Anthem, Yahoo!, and


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Target. Much of this experience was detailed in our leadership application in this

case and will not be repeated here. But a brief summary of our experience as it

relates to this case may be helpful to the Court.

      4.     Since the revelation of the Target data breach in late 2013, Mr. Siegel

has dedicated much of his practice to representing victims of data breaches. He co-

founded the American Association for Justice’s Consumer Privacy and Data

Breach Litigation Group and previously served as the group’s co-chair. He is a

nationally published author on emerging issues impacting data breach cases, and

he regularly speaks on data breach litigation issues and best practices in settling

data breach cases.

      5.     Mr. Siegel’s experience in data breach and consumer privacy cases

includes appointment as co-lead counsel for the consumer plaintiffs in In re: The

Home Depot, Inc., Customer Data Security Breach Litigation, MDL No. 2522, No.

14-md-02583 (N.D. Ga.) (involving a breach affecting more than 60 million

customers). In the Home Depot litigation, he served as the principal negotiator with

Mr. Barnes on behalf of the consumer class that resulted in a settlement that the

Court referred to as an “exceptional result” and “the most comprehensive

settlement achieved in large-scale data breach litigation.” In re The Home Depot,

Inc., Customer Data Sec. Breach Litig., MDL No. 2583, No. 1:14-MD-02583-


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TWT, 2016 WL 11299474, at *1 (N.D. Ga. Aug. 23, 2016). He also served as a

member of the executive committee and was part of the negotiating team in In re:

Target Corporation Customer Data Security Breach Litigation, No. 14-md-2522

(D. Minn.) (involving a breach affecting tens of millions of customers), and has

worked closely with lead counsel including drafting large portions of the

successful standing appeal in In re U.S. Office of Personnel Management Data

Security Breach Litigation, No. 1:15-mc-01394-ABJ (D.D.C.) (involving a breach

of millions of government employee records). He has also served as lead counsel

and crafted settlements in smaller data breach cases including Hutton v. National

Board of Examiners in Optometry, Inc., No. 16-cv-03025-JKB (D. Md.) (resolving

a data breach impacting 60,000 eye doctors across the country; Court finding

“multiple beneficial forms of relief . . . reflects an outstanding result for the

Class.”).

      6.    In addition to their extensive experience in many other types of

complex litigation and class actions that was described in our leadership

application, Mr. Canfield, Mr. Barnes, and Ms. Keller have also litigated and

settled major data breach cases. Mr. Canfield served as co-lead counsel in the

financial institution track of the Home Depot data breach multidistrict litigation

before this Court that resulted in what remains the largest data breach settlement


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involving banks and credit unions. Mr. Barnes, as noted above, shared

responsibility for negotiating the successful settlement of the consumer track in the

Home Depot breach case. And, both Mr. Canfield and Mr. Barnes serve in

leadership positions in In re: Arby’s Rest. Group, Inc. Data Security Litig., No.

1:17-cv-1035-AT (N.D. Ga.). Ms. Keller, in addition to her recent appointment as

co-lead counsel in the Marriott data breach multidistrict litigation, has experience

in litigating a number of nationwide consumer class actions. She is a member of

the Sedona Conference’s Working Group 11, which focuses on litigation issues

surrounding technology, privacy, artificial intelligence, and data security, and

serves on two drafting teams—one proposing a model data breach notification law,

and another opining on statutory damages under U.S. privacy laws, such as the

California Consumer Privacy Act.

      7.     Our colleagues on the Plaintiffs’ negotiating team also have extensive

backgrounds litigating and resolving data breach cases large and small. Examples

of these cases include In re Anthem, Inc. Data Breach Litig., No. 15- MD-02617

(N.D. Cal), which Mr. Friedman led as co-lead counsel and resulted in what until

now is by far the largest consumer data breach settlement. Other examples include

In Re: Arby’s Rest. Group, Inc. Data Security Litig., No. 1:17-cv-1035-AT (N.D.

Ga.) (Mr. Pizzirusso); In re: Yahoo! Inc. Customer Data Security Breach Litig.,


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No. 16-md-02752 (N.D. Cal.) (Mr. Yanchunis); In re VIZIO Inc. Consumer

Privacy Litig., No. 8-16-md-02693-JLS (C.D. Cal.) (Mr. Friedman); In re Sony

Gaming Networks and Customer Data Security Breach Litig., No. 11-md- 02258

(S.D. Cal.) (Mr. Yanchunis). Including all members of the Plaintiffs Steering

Committee, we have collectively handled over 50 data breach cases from coast to

coast. [Doc. 187-2] And that record continues—just recently for example, Ms.

Keller, Mr. Friedman, and Mr. Pizzirusso were appointed to lead the consumer

claim in the Marriott data breach multi-district litigation and Mr. Siegel was

named to the steering committee.

      8.       These collective experiences litigating and resolving the largest data

breach cases in history were brought to bear on the approach to settling the claims

presented in this case, and it is the shared view of the entire Plaintiffs’ Steering

Committee that the settlement presented here is historic in several respects. We are

confident that this settlement is fair, reasonable, and adequate and in the best

interests of the 147 million Americans who were impacted by the 2017 Equifax

data breach.

                              Overview of the Litigation

      9.       On September 7, 2017, Equifax announced that criminals had stolen

from its computer networks confidential personal and financial information


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pertaining to about 147 million Americans. Class action lawsuits against Equifax

immediately began to be filed by affected consumers and financial institutions.

Ultimately, more than 300 such lawsuits were filed around the country. In addition,

a few lawsuits were filed by small businesses alleging they had been damaged

because their owners’ personal information had been stolen in the breach.

      10.   In December 2017, all of these lawsuits were consolidated by the

Judicial Panel on Multidistrict Litigation and transferred to Chief Judge Thomas

Thrash, Jr. of the Northern District of Georgia in Atlanta, where Equifax is

headquartered. The Court created two separate tracks to manage the litigation —

one for the consumer cases (which included claims that had been brought against

small businesses) and one for the cases brought by financial institutions. The Court

also directed counsel interested in leadership positions in each track to file

applications with the Court. There were several dozen applications, some by

groups of lawyers and others by individuals. On February 12, 2018, the Court

appointed a designated group of 13 lawyers to lead the litigation including Ken

Canfield, Amy Keller, and Norman Siegel as Co-Lead Counsel and Roy Barnes as

liaison counsel, sharing duties with Co-Lead Counsel. [Doc. 232] This group was

also appointed Interim Consumer Class Counsel pursuant to Fed. R. Civ. P. 23(g),




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and referred to as “Class Counsel” in the Settlement Agreement and this

Declaration.

      11.      As Class Counsel, our first major task was to file a consolidated

amended complaint, which the Court had announced would serve as the vehicle for

litigating the consumer claims. Our group had a substantial head start on this task

because prior to our appointment we had already filed a case that named class

representatives from every state. Nonetheless, the consolidated complaint was a

massive undertaking, involving investigating the underlying facts, vetting several

thousand potential class representatives, and thoroughly researching many legal

theories under federal law and the laws of all 50 states.

      12.      On May 14, 2018, Plaintiffs filed a 559-page consolidated amended

consumer complaint, which named 96 class representatives and asserted numerous

common law and statutory claims under both state and federal law. [Doc. 374] Due

to the Court’s inclusion of the small business cases in the consumer track, we also

filed a separate complaint on behalf of the small businesses. [Doc. 375]

      13.      In June and July 2018, Equifax moved to dismiss both the consumer

and small business complaints in their entirety. [Docs. 428 and 441] Equifax’s

primary focus in these motions was attacking Plaintiffs’ negligence and negligence

per se claims, arguing that Georgia law does not recognize a legal duty to


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safeguard personal information, none of the class representatives (or any class

members) suffered a legally-cognizable injury, and Plaintiffs could not plausibly

prove any alleged injury was caused by the Data Breach. Both motions to dismiss

were exhaustively briefed during the summer and early fall of 2018. [Docs. 452,

471]

        14.   On December 14, 2018, the Court heard more than three hours of oral

argument on Equifax’s motions to dismiss. [Doc. 534] On January 28, 2019, the

Court issued its rulings granting the motion to dismiss the small business

complaint and largely denying the motion directed at the consumer complaint.

Equifax answered the consumer complaint on February 25, 2019. [Docs. 540, 541]

        15.   While the consolidated amended complaints were being prepared and

Equifax’s motions to dismiss were pending, Class Counsel and the members of

Plaintiffs’ Steering Committee undertook a substantial amount of other work to

move the case forward. That work included the organizational activity that is part

of leading any case of this magnitude (establishing committees, assigning areas of

responsibility, hiring vendors for e-discovery, etc.), as well as tasks such as

locating and consulting with experts; working with the class representatives to

assemble their documents and compile their damages; investigating the facts

relating to the breach, including the mechanism for how the breach occurred and


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the data exfiltrated; communicating with public interest groups active in the

cybersecurity, consumer protection, and financial fraud fields; coordinating with

the leadership of the financial institution track and the related securities litigation;

developing our strategy for prosecuting the case; meeting with state and federal

lawmakers regarding the breach; issuing document retention subpoenas to scores

of third parties; and attending monthly status conferences in court.

      16.    Under the local rules of the Northern District of Georgia, discovery

does not begin until 30 days after an answer is filed. Nevertheless, we were able to

secure case management orders that front-loaded much of the preparatory work

needed before formal discovery could as a practical matter proceed, setting the

groundwork for discovery once the motions were decided. In accordance with

these orders, the parties negotiated a series of protocols to govern discovery,

exchanged requests for production of documents, and attempted to negotiate the

search terms and list of custodians that would be used in electronic searches. [Doc.

258] (Protective Order); [Doc. 449] (Production and ESI Protocol) Several parts of

this pre-discovery process proved to be challenging, forcing Class Counsel to

spend substantial time on these matters. On some issues, the parties reached

impasse compelling Class Counsel to file a motion seeking limited relief from the




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discovery stay and an order facilitating our interviews of former Equifax

employees who had signed non-disclosure agreements. [Doc. 488]

      17.   Once the Court ruled on Equifax’s motions to dismiss, Plaintiffs’

discovery efforts intensified. Among other things, Class Counsel and Plaintiffs’

Steering Committee reviewed approximately 500,000 pages of documents

produced by Equifax (along with many thousands of native files including

presentations and databases), began producing named plaintiffs’ documents to

Equifax, and scheduled depositions of several former Equifax employees. Our

document review was complicated by Equifax’s decision to segregate highly-

confidential documents in a “reading room” controlled by Equifax, which involved

beginning to negotiate revised orders concerning discovery and creating new

review protocols, along with meeting and conferring about Equifax’s ongoing

productions. Those efforts continued up to the moment the case settled.

                       Overview of Settlement Discussions

      18.   In September 2017, Equifax’s counsel contacted Mr. Siegel, Mr.

Levitt, and others and told us that Equifax was interested in exploring early

resolution of the litigation. This led to the formation of a group of Plaintiffs’

counsel that decided to work together in an effort to litigate and resolve the case.




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This group, with a few additions selected by the Court, was later appointed to lead

the consumer track.

      19.    After initial telephone and in-person discussions regarding a potential

settlement process, the parties retained Layn R. Phillips, a former federal judge and

principal of Phillips ADR, to serve as mediator. Judge Phillips is perhaps the

country’s preeminent mediator in major civil litigation and has successfully

mediated several other data breach cases, including In re Anthem Customer Data

Breach Security Litig., which until now is the most successful consumer data

breach settlement. Our first negotiating session took place in Newport Beach,

California on November 27-28, 2017. The parties engaged in extensive preparation

for the mediation and exchanged comprehensive mediation statements.

      20.    Based on the collective experiences described above, Plaintiffs

presented a paradigm for settlement that would serve as the groundwork for further

negotiations: First, Equifax would create a common fund for the benefit of the

class that would reimburse class members for out-of-pocket expenses and lost time

associated with the breach. Second, class members would be entitled to high

quality, three-bureau credit monitoring and identity restoration services. And, third,

Equifax would be subject to specific contractual obligations and a related consent

order requiring that it substantially reform its data security practices.


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      21.     Although little progress was made at the first mediation, it did serve to

initiate what became a lengthy back-and-forth process with Equifax that lasted

over the next 16 months. Throughout the process, the three core elements of

resolution discussed at the first mediation served as the guideposts that led the

parties through various iterations of proposed term sheets, and ultimately the

settlement presented by this motion. During the course of 2018, Class Counsel

collectively spent more than a thousand hours preparing for and participating in

settlement talks, struggling to reach agreement with Equifax on a comprehensive

term sheet.

      22.     The parties negotiated over this period with the oversight of Judge

Phillips — work that involved exchanging additional mediation statements,

numerous and regular telephone conferences, and additional all-day mediation

sessions with Judge Phillips on May 25, 2018, August 9, 2018, November 16,

2018, and March 30, 2019. During this period, Class Counsel and Plaintiffs’

settlement committee also spent significant time with vendors so that we could

develop and deliver state-of-the-art monitoring and restoration services to the

entire class. We also retained several leading cybersecurity experts to assist us and

consulted with knowledgeable consumer groups.




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      23.    On a separate track, the parties worked on detailed and comprehensive

business practice changes involving Equifax’s cybersecurity measures. In

connection with the negotiations, we retained Mary Frantz, one of the nation’s

leading cybersecurity experts. Working continuously with Ms. Frantz, we

examined Equifax’s existing data security systems, attended multiple meetings at

Equifax’s headquarters in Atlanta with Equifax’s counsel and security experts, and

exchanged numerous proposals and counter-proposals regarding improvements to

Equifax’s data security.

      24.    Although the negotiations were productive and moved the parties

closer to settlement, the process slowed substantially following the November 16,

2018 mediation session, and eventually came to a stop in December. At that point,

the parties turned their attention to continuing the briefing and then arguing the

motions to dismiss, resulting in a relative standstill on the negotiations pending the

Court’s ruling on those motions.

      25.    Following the Court’s decision largely denying Equifax’s motion to

dismiss the consumer claims, the parties renewed negotiations. The meaning and

impact of the Court’s orders on the prospects of the litigation was hotly debated

and prompted the parties to continue their settlement efforts through Judge

Phillips. In March 2019, the parties agreed to another mediation session. After


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meeting with Equifax’s counsel and in-house representatives in California for

several hours on the evening of March 29, 2019, and following an all-day

mediation session on March 30, 2019, the parties executed a binding Term Sheet

that serves as the basis of this Settlement.

      26.    In between the formal mediation sessions, the parties met several

times, engaged in scores of telephone conferences, and exchanged constant emails

(Mr. Siegel has over a thousand emails to and from Equifax’s lawyers) – all in an

effort to move the negotiations forward. At all times the negotiations were at arm’s

length, sometimes contentious, but always professional.

                          The Mediated Settlement Terms

      27.    As discussed above, from the outset of the negotiations, Class Counsel

focused on three major components of the settlement. First, the establishment of a

cash settlement fund to compensate those class members that had suffered out-of-

pocket losses and lost time as a result of the breach. Second, the provision of high

quality credit monitoring and identity restoration services. And third, modifications

to Equifax’s data security practices that would be subject to Court enforcement.

The March 30, 2019 Term Sheet achieved all of these goals.

      28.    The Term Sheet achieved the first litigation goal of securing

significant monetary relief through the establishment of a non-reversionary $310


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million settlement fund. The deal was structured so that class members could

receive up to $20,000 with documented losses fairly traceable to the breach,

including, but not limited to money spent on placing or removing a security freeze

on a credit report with any credit reporting agency; credit monitoring or identity

theft protection costs purchased on or after September 7, 2017; unreimbursed costs,

expenses, losses, or charges paid on or after May 13, 2017, because of identity

theft or identity fraud, falsified tax returns, or other misuse of personal

information; other miscellaneous expenses related to any out-of-pocket loss such

as notary, fax, postage, copying, mileage, and long-distance telephone charges;

professional fees incurred in connection with addressing identity theft, fraud, or

falsified tax returns; and up to 25% reimbursement of the money paid for Equifax

credit monitoring or identity theft protection subscription products in the year

before the breach. The parties also agreed the fund would provide for

reimbursement to class members who spent time taking preventative measures or

dealing with fraud, identity theft, or other misuse of their personal information for

up to 20 hours of time at $25 per hour. Up to 10 hours of time could be self-

certified and not require documentation.

      29.    The Term Sheet achieved the second key litigation goal in that all

class members would be entitled to enroll in three years of three-bureau credit


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monitoring services provided by Experian. Comparable products, like Experian’s

CreditWorks Premium service, retail for $25 a month ($300 per year). And, if a

class member already had some other kind of monitoring services in place, the

Term Sheet provided that class members may file a claim for alternative cash

compensation of $100. In addition, the Term Sheet provided all class members

with access to “assisted identity restoration services” if they experience an identity

theft event. These services include access to a U.S.-based call center providing

services relating to identity theft and fraud restoration. Importantly, class members

do not need to file a claim to access these services. Under the Term Sheet, the

settlement fund would pay for monitoring for up to seven million enrollees, but

Equifax was required to separately pay for all class members who registered in

excess of seven million.

      30.    The Term Sheet achieved the third key litigation goal of requiring

Equifax to adopt, pay for, implement, and maintain extensive business practices

commitments related to information security to safeguard consumer information

for a period of five years, including spending a minimum of $1 billion on data

security and related technology. Over a lengthy period that began in 2017, the

information security program was developed by Class Counsel in consultation with

Ms. Frantz, and negotiated with Equifax to provide security improvements relating


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to data classification, logging and monitoring, vulnerability scanning, penetration

testing, patch management, access control and account management, file integrity

monitoring, encryption, data retention requirements, and required third party

assessments, among many others. Moreover, the Term Sheet provided that an

independent third party would assess these commitments and be enforceable in

court.

         31.   The Term Sheet provided for two claims periods – an initial claims

period of six months, followed by an extended claims period (if money remained

in the fund) for up to three years. At the conclusion of the extended claims period

the parties agreed that excess funds would be used for the benefit of the class and

could not revert to Equifax. The Term Sheet also delivered another important non-

monetary benefit – it provided that Equifax could not seek to enforce any

arbitration provision in any Equifax product that has been offered in response to

the Data Breach as of the date of the settlement agreement or that is provided under

the settlement.

                      Input from Federal and State Regulators

         32.   The March 30, 2019, Term Sheet provided for a period of 60 days

following the execution of the Term Sheet to allow Class Counsel to consider any

comments from the Federal Trade Commission, the Consumer Financial Protection


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Bureau, and state Attorneys General (“Regulators”) regarding the relief afforded to

the class under the Term Sheet. This provision is consistent with guidance

provided by the Federal Judicial Center regarding solicitation of the views of

federal and state regulators regarding class action settlements. See generally,

Federal Judicial Center, Managing Class Action Litigation: A Pocket Guide for

Judges at 26-27. Because the Regulators were not involved in negotiating the Term

Sheet, the parties agreed that, “to the extent that the Regulators propose changes to

the class benefits or the Term Sheet, Plaintiffs will discuss and consider in good

faith such changes, and if the parties agree, the Term Sheet and settlement

agreement will be amended accordingly.”

      33.    In the weeks that followed, the Regulators proposed several changes

to the substantive terms of the Term Sheet. Some were relatively minor (making

clear that consumers could recover for time in 15 minute intervals and increasing

the dollar amount for alternative monitoring compensation from $100 to $125)

while others provided significant additional relief ($70.5 million for the fund that

included money to pay for another year of 3-bureau monitoring and, if needed,

$125 million more to pay excess out-of-pocket claims; 6 years of 1-bureau

monitoring through Equifax; and expansion of the Extended Claims Period from 3

to 4 years). Plaintiffs accepted all those proposals. However, Plaintiffs opposed


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other proposed changes Class Counsel believed would be the subject of criticism

and, in certain instances, might lessen the class benefits in the Term Sheet they had

negotiated.

      34.     These discussions triggered a new round of difficult negotiations that

lasted over two months and delayed submitting an agreement to the Court.

Through intensive good faith discussions, the remaining issues were resolved, and

Class Counsel turned to working with Equifax and the Regulators to refine the

notice and claims programs. After numerous conferences with Equifax and the

Regulators, and an “all hands” meeting in Washington, D.C. on July 16, the parties

were finally able to execute the Settlement Agreement. Like the negotiations with

Equifax, all negotiations with the Regulators were arm’s length.

      35.     Both the Federal Trade Commission and Consumer Financial

Protection Bureau also offered helpful suggestions to the notice program and

claims administration process. The proposed changes were intended to maximize

the efficacy of the notice program, improve accessibility of the notice and claims

process, and ultimately increase claims rates. Class Counsel adopted nearly all of

these proposed changes, and believe the Regulators’ input improved the final

notice program and claims process.




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                             Confirmatory Discovery

      36.    Following execution of the Term Sheet, Class Counsel engaged in

confirmatory discovery related to both the identification of the class and other

issues bearing on the settlement. Specifically, Class Counsel sought and received

information regarding the specifics of how Equifax determined those individuals

impacted by the breach, confirming the mechanism of the breach, and confirming

the steps Equifax has taken to improve its data security since the breach was

discovered. Specifically, on June 26, 2019, Ms. Keller deposed an employee of

Mandiant (the firm that conducted the post-breach investigation) and Equifax’s

Chief Information Security Officer concerning the breach, Equifax’s systems and

business practices, and Equifax’s post-breach response. The deposition assisted

Class Counsel in ensuring that the negotiated settlement relief addresses Plaintiffs’

allegations and benefits Settlement Class Members by improving Equifax’s

security and business practices.

                 The Settlement Benefits Conferred on the Class

      37.    Under the proposed settlement, Equifax will pay $380.5 million into a

non-reversionary fund for class benefits, fees, expenses, service awards, and notice

and administration costs; and up to an additional $125 million if needed to satisfy

claims for Out-of-Pocket losses if the $380.5 million fund is exhausted, bringing


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the cash fund up to $505.5 million. Settlement Agreement ¶¶ 3.1 and 3.2. The

settlement is structured so that Equifax also may pay into the fund the added costs

of credit monitoring if more than seven million class members claim that benefit.

These payments could exceed $2 billion if all class members enroll for this benefit,

and accrues at a rate of $16.4 million for every 1 million enrollees above 7 million.

Id. at ¶¶ 7.8 and 7.9.

      38.      The Settlement provides that the fund will provide specific benefits to

class members, including:

             Compensation of up to 20 hours at $25 per hour for time spent taking
              preventative measures or dealing with identity theft. Ten hours can be
              self-certified, requiring no documentation. This provision is subject to
              a $38 million cap.

             Reimbursement of up to $20,000 for documented losses fairly
              traceable to the breach, such as the cost of freezing or unfreezing a
              credit file; buying credit monitoring services; out of pocket losses
              from identity theft or fraud, including professional fees and other
              remedial expenses; and 25 percent of any money paid to Equifax for
              credit monitoring or identity theft protection subscription products in
              the year before the breach.

             Four years of specially-negotiated, three-bureau credit monitoring and
              identity protection services through Experian (a retail value of $1,200)
              and an additional six years of one-bureau credit monitoring through
              Equifax (a retail value of $720).

             Alternative compensation of $125 for class members who already
              have credit monitoring or protection services in place. This provision
              is subject to a $31 million cap.


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              Identity restoration services through Experian to help class members
               victimized by identity theft for seven years, including access to a U.S.
               based call center, assignment of a certified identity theft restoration
               specialist, and step by step assistance in dealing with credit bureaus,
               companies and government agencies.

Id. at ¶ 6.2.

       39.      The documentation necessary to establish Out-of-Pocket Losses may

consist of documents such as receipts from third parties, highlighted account

statements, phone bills, gas receipts, and postage receipts, among other relevant

documentation. Similarly, to obtain Reimbursement for Attested Time of up to 10

hours, class members need only attest to the time spent and briefly describe the

actions taken. Claims for Reimbursement for Attested Time of more than 10 hours

require documentation, which can be the same documents submitted for Out-of-

Pocket losses. If it is not readily apparent how the document establishes a loss, the

claimant can provide a brief description of the documentation describing the nature

of the loss. Id. at ¶ 8.3.

       40.      If a claim is rejected for any reason, there is also a consumer-friendly

appeals process whereby claimants will have the opportunity to cure any

deficiencies in their submission or request an automatic appeal if the Settlement

Administrator determines a claim for Out-of-Pocket Losses or time is deficient in

whole or part. Id. at ¶ 8.5.


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       41.    Class members will have six months to file a claim for benefits, but

are not required to file a claim to access identity restoration services. Id. at ¶¶ 7.2

and 8.1. If money remains in the fund, there will be up to a four-year extended

claims period during which class members may recover for Out-of-Pocket losses

and time spent rectifying identity theft after the end of the initial claims period. Id.

at ¶ 8.1.2. Any money remaining after the extended claims period will first be used

to pay any claims for time or alternative compensation that were not paid in full

because of the caps; purchase up to three years of additional identity restoration

services and then to extend the length of credit monitoring for those who claimed

that benefit. Id. at ¶ 5.4.

       42.    The credit monitoring product offers class members expansive

coverage in monitoring for and protecting against identity theft and fraud. Id. at

7.1. Credit monitoring is a service that monitors an individual’s credit reports and

alerts the individual when any change is made that could signal fraudulent activity.

Credit changes can include new credit card or loan applications, new credit

inquiries, existing account changes, and new public records or address changes,

among others. Credit monitoring gives the individual the opportunity to confirm

the accuracy of a credit change in real time and, if necessary, address the issue

before fraud occurs or expands.


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      43.   As a separate class benefit, all Settlement Class Members, even those

who do not enroll in Credit Monitoring Services or do not submit a claim, will be

entitled to utilize identity restoration services offered through Experian. This

coverage is a separate benefit and permits all class members to have access to

fraud resolution specialists who can assist with important tasks such as placing

fraud alerts with the credit bureaus, disputing inaccurate information on credit

reports, scheduling calls with creditors and other service providers, and working

with law enforcement and government agencies to dispute fraudulent information.

Identity restoration services will be available for a period of seven years from the

Effective Date of the Settlement Agreement. Id. at ¶ 7.2.

      44.   Equifax has also agreed to entry of a consent order in this action

requiring the company to spend a minimum of $1 billion for cybersecurity over

five years and to comply with comprehensive data security requirements as

originally provided in the Term Sheet. Id. at ¶ 4.1.1. Equifax’s compliance will be

audited by independent experts and subject to this Court’s enforcement powers. Id.

at ¶ 4.1.2. The components of the business practice changes include:

    Information Security Program: Within 90 days of final approval, Equifax
     shall implement, and thereafter regularly maintain, review, and revise a
     comprehensive Information Security Program that is reasonably designed to
     protect the confidentiality, integrity, and availability of the Personal



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   Information that Equifax collects, processes, or stores on the Equifax
   Network.

 Managing Critical Assets: Equifax shall identify and document a
  comprehensive IT asset inventory, using an automated tool(s) where
  practicable, that, consistent with NIST or another comparable standard, will
  inventory and classify, and issue reports on, all assets that comprise the
  Equifax Network, including but not limited to software, applications,
  network components, databases, data stores, tools, technology, and systems.
  The asset inventory required under this paragraph shall be regularly updated
  and, at a minimum, identify: (a) the name of the asset; (b) the version of the
  asset; (c) the owner of the asset; (d) the asset’s location within the Equifax
  Network; and (e) the asset’s criticality rating. Equifax shall maintain,
  regularly review and revise as necessary, and comply with a Governance
  Process establishing that hardware and software within the Equifax Network
  be rated based on criticality, factoring in whether such assets are used to
  collect, process, or store Personal Information. Equifax shall comply with
  this provision by June 30, 2020.

 Data Classification: Equifax shall maintain and regularly review and revise
  as necessary a data classification and handling standard.

 Security Information and Event Management: Consistent with NIST or
  another comparable standard, Equifax shall implement a comprehensive,
  continuous, risk-based SIEM solution (or equivalent). Equifax shall
  continuously monitor, and shall test on at least a monthly basis, any tool
  used pursuant to this paragraph, to properly configure, regularly update, and
  maintain the tool, to ensure that the Equifax Network is adequately
  monitored.

 Logging and Monitoring: Equifax shall maintain, regularly review and
  revise as necessary, and comply with a Governance Process establishing: (1)
  risk-based monitoring and logging of security events, operational activities,
  and transactions on the Equifax Network, (2) the reporting of anomalous
  activity through the use of appropriate platforms, and (3) requiring tools
  used to perform these tasks be appropriately monitored and tested to assess

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   proper configuration and maintenance. The Governance Process shall
   include the classification of security events based on severity and
   appropriate remediation timelines based on classification.

 Vulnerability Scanning: Equifax shall implement and maintain a risk-based
  vulnerability scanning program reasonably designed to identify and assess
  vulnerabilities within the Equifax Network.

 Penetration Testing: Equifax shall implement and maintain a risk-based
  penetration-testing program reasonably designed to identify and assess
  security vulnerabilities within the Equifax Network.

 Vulnerability Planning: Equifax shall rate and rank the criticality of all
  vulnerabilities within the Equifax Network. For each vulnerability that is
  ranked most critical, Equifax shall commence remediation planning within
  24 hours after the vulnerability has been rated as critical and shall apply the
  remediation within one week after the vulnerability has received a critical
  rating. If the remediation cannot be applied within one week after the
  vulnerability has received a critical rating, Equifax shall identify or
  implement compensating controls designed to protect Personal Information
  as soon as practicable, but no later than one week after the vulnerability
  received a critical rating.

 Patch Management: Equifax shall maintain, regularly review and revise as
  necessary, and comply with a Governance Process to maintain, keep
  updated, and support the software on the Equifax Network. Equifax shall
  maintain reasonable controls to address the potential impact that security
  updates and patches may have on the Equifax Network and shall maintain a
  tool that includes an automated Common Vulnerabilities and Exposures
  (CVE) feed with regular updates regarding known CVEs.

 Threat Management: Equifax shall maintain, regularly review and revise
  as necessary, and comply with a Governance Process establishing a threat
  management program designed to appropriately monitor the Equifax



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   Network for threats and assess whether monitoring tools are appropriately
   configured, tested, and updated.

 Access Control and Account Management: Equifax shall maintain,
  regularly review and revise as necessary, and comply with a Governance
  Process established to appropriately manage Equifax Network accounts.
  This Governance Process shall include, at a minimum, (1) implementing
  appropriate password, multi-factor, or equivalent authentication protocols;
  (2) implementing and maintaining appropriate policies for the secure storage
  of Equifax Network account passwords, including policies based on industry
  best practices; and (3) limiting access to Personal Information by persons
  accessing the Equifax Network on a least-privileged basis.

 File Integrity Monitoring: Equifax shall maintain, regularly review and
  revise as necessary, and comply with a Governance Process established to
  provide prompt notification of unauthorized modifications to the Equifax
  Network.

 Legacy Systems: Equifax shall develop and implement a risk-based plan to
  remediate current legacy systems on a schedule that provides for
  remediation within five years following final approval of this Agreement
  and which includes applying compensating controls until the systems are
  remediated. Equifax shall also maintain a Governance Process for active
  lifecycle management for replacing and deprecating legacy systems when
  they reach end of life.

 Encryption: Equifax shall maintain, regularly review and revise as
  necessary, and comply with a Governance Process requiring Equifax either
  to encrypt Personal Information or otherwise implement adequate
  compensating controls.

 Data Retention: Equifax shall maintain, regularly review and revise as
  necessary, and comply with a Governance Process establishing a retention
  schedule for Personal Information on the Equifax Network and a process for
  deletion or destruction of Personal Information when such information is no


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   longer necessary for a business purpose, except where such information is
   otherwise required to be maintained by law.

 TrustedID Premier: Equifax, including by or through any partner, affiliate,
  agent, or third party, shall not use any information provided by consumers
  (or the fact that the consumer provided information) to enroll in TrustedID
  Premier to sell, upsell, or directly market or advertise its fee-based products
  or services.

 Mandatory Training: Equifax shall establish an information security
  training program that includes, at a minimum, at least annual information
  security training for all employees, with additional training to be provided as
  appropriate based on employees’ job responsibilities.

 Vendor Management: Equifax shall oversee its third party vendors who
  have access to the Equifax Network by maintaining and periodically
  reviewing and revising, as needed, a Governance Process for assessing
  vendor compliance in accordance with Equifax’s Information Security
  Program to assess whether the vendor’s security safeguards are appropriate
  for that business, which Governance Process requires vendors by contract to
  implement and maintain such safeguards and to notify Equifax within 72
  hours of discovering a security event, where feasible.

 Incident Response Exercises: Equifax shall conduct, at a minimum,
  biannual incident response plan exercises to test and assess its preparedness
  to respond to a security event.

 Breach Notification: Equifax shall comply with the state data breach
  notification laws, as applicable, and unless preempted by federal law.

 Information Security Spending: Equifax shall ensure that its Information
  Security Program receives the resources and support reasonably necessary
  for the Information Security Program to function as required by this
  Settlement. In addition, over a five-year period beginning January 1, 2019,



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      Equifax shall spend a minimum of $1 billion on data security and related
      technology.

    Third-Party Assessments: Equifax shall engage a Third-Party Assessor
     meeting the criteria specified in this Agreement to conduct a SOC 2 Type 2
     attestation, or to conduct an assessment using industry-recognized
     procedures and standards in satisfaction of Regulator requirements for this
     Agreement (the “Third-Party Assessments”).

Settlement Agreement, Exhibits 2 and 3.

      45.    In addition to the business practice changes regarding data security,

Equifax has also agreed that it will not seek to enforce any arbitration provision or

class action waiver in any Equifax product or service that has been offered in

response to the breach or the settlement. Settlement Agreement ¶ 4.1.3. Further,

Equifax will not receive any monetary or other financial consideration for the

monitoring or restoration services made available under the Settlement, and is

providing data necessary to provide those services free of charge. Id. ¶ 7.3.

                       The Notice Plan and Claims Process

      46.    A key feature of the settlement is a first-of-its-kind notice program

that applies modern techniques used in commercial and political advertising to

inform the class and stimulate participation. Settlement Agreement, Exhibit 6. The

program, which was developed by Class Counsel and Signal Interactive Media

with input from the Federal Trade Commission and Consumer Financial Protection



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Bureau, consists of: (1) four emails to those class members whose email addresses

can be found with reasonable effort, which is expected to be at least 75 percent of

the class; (2) an aggressive digital and social media campaign designed to reach 90

percent of the class an average of eight times before the Notice Date and another

six times by the end of the initial claims period; (3) radio advertising and a full-

page, color advertisement in USA Today to reach those who have a limited digital

presence; and (4) digital advertising during the extended claims period and while

identity restoration services are available. Id.

      47.    The proposed emails and other notices, which are attached as exhibits

to the Notice Plan, will be tested and targeted based on the demographics and other

relevant characteristics of the class. The initial testing will involve focus groups, a

national survey of 1,600 likely class members, and sending approved notices to

small subsets of the class to measure their effectiveness. Then, once the full-scale

campaign is launched, Signal will monitor its effectiveness through empirical data

and continuously adjust the specific ads that are used and where those are placed to

maximize their impact and drive claims. If the empirical data shows that additional

measures are needed to accomplish its goals, the notice program may be

supplemented with the Court’s approval.




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      48.    The claims process similarly draws upon the most up-to-date

techniques to facilitate participation, including a link to a settlement website in all

emails and digital advertising; the ability to file and check claims electronically

optimized for use on any device whether mobile or via personal computer; and a

call-center via a toll-free number to assist class members in filing claims. JND, the

proposed Settlement Administrator, is a widely-regarded expert with the

experience and capability to handle a case of this magnitude.

                           Attorneys’ Fees and Expenses

      49.    Class Counsel may request a fee of up to $77.5 million, which

represents 25 percent of the original settlement fund created by the March 30 Term

Sheet, and reimbursement of up to $3 million in litigation expenses. Settlement

Agreement ¶ 11.1. Equifax has agreed not to oppose this amount. Id. This

provision was a separately negotiated provision of the Term Sheet and Settlement

Agreement, which was not discussed until after the parties had agreed on relief to

the class. Class Counsel believes this fee is justified as a percentage of the fund

generated through its skill and efforts, and when considered in light of the

substantial monetary and non-monetary benefits conferred on the Class.

      50.    Class Counsel will also seek service awards for $2,500 for each

Settlement Class Representative. Each of these individuals provided detailed


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information of the circumstances regarding the impact of the breach that was vital

to Class Counsel’s investigation and litigation of the class’s claims. Furthermore,

each of them has remained active in the case, communicating with the attorneys

working on the case during subsequent phases of the case. Equifax does not oppose

these requests. Id. at ¶ 10.1. Both the application for fees and expenses, and the

application for service awards will be filed at least 21 days before the Objection

Deadline.

                                      Releases

      51.     The class will release Equifax from claims that were or could have

been asserted in this case and in turn Equifax will release the class from certain

claims. Id. at ¶¶ 20-22. Class Counsel believes the releases are appropriately

tethered to the claims that were presented in the litigation and therefore appropriate

consideration in exchange for the substantial class relief provided by the

settlement.

                The Settlement is Fair, Reasonable, and Adequate

      52.     The resulting settlement, by any measure, is the largest settlement

ever achieved in a data breach case. As reflected in the attached chart summarizing

the terms of other significant consumer data breach settlements, the relief

conferred on the class here including a non-reversionary fund of $380.5 million


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(plus an additional $125 million if needed to pay Out-of-Pocket Losses and the

added amount Equifax will have to pay for credit monitoring if more than 7 million

class members enroll) is materially higher than that achieved in any other data

breach case. Likewise, the specific benefits available to class members compare

favorably to those available under any other settlement, and the business practice

changes to which Equifax has agreed (including its commitment to spend at least

$1 billion on cybersecurity over the next five years) are far more extensive than

have previously been achieved. See Exhibit 1.

      53.    Class Counsel also believes that a settlement at this point in the

litigation is warranted because class members benefit immediately from

protections like credit monitoring and identity restoration services that can help

prevent and detect identity theft and fraud before misuse occurs, and assist class

members in addressing any issues that arise, including the protection of a $1

million insurance policy in case of identity theft or fraud.

      54.    Similarly, based on our experience in other data breach cases, the

funds available in the Consumer Restitution Fund are tailored to address the losses

stemming from the alleged breach. When a victim incurs out-of-pocket expenses

relating to a data breach, it is typically associated with seeking advice about how to

address the breach (e.g., paying for professional services), paying incidental costs


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associated with identity theft or fraud (e.g., overdraft fees or costs for sending

documents by certified mail), or taking mitigation measures like paying for credit

monitoring or credit freezes. As such, the out-of-pocket expenses associated with a

data breach are generally relatively modest, and rarely exceed several hundred

dollars. When victims spend more than this amount, it is typically associated with

paying for professional services such as accountant or attorneys’ fees. As such, we

believe the Settlement provides a mechanism to recover the out-of-pocket losses

that would have been proved at trial.

      55.    The settlement must also be viewed against the significant risks to the

Plaintiffs had they continued to litigate the case. There was a risk that Plaintiffs’

claims would not have survived on a class-wide basis after a motion for class

certification, or after one or more motions for summary judgment following the

completion of fact and expert discovery. Data breach litigation is relatively new.

While the law has gradually adapted, the path to a class-wide monetary judgment

remains untrodden, and it will take some time before litigants and courts navigate

all the unique issues posed by data breach lawsuits and some level of certainty sets,

particularly in the area of damages.

      56.    Here, in addition to the traditional risks facing class plaintiffs in data

breach cases, the settlement is highly beneficial when compared to two unique


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risks presented under Georgia law, which the Court ruled applies to all the

common law claims asserted by Plaintiffs. First, the Georgia Supreme Court

recently called into question whether a defendant has a legal duty to safeguard the

confidential personal information stolen in a data breach. See Georgia Department

of Labor v. McConnell (Nos. S181786 and S181787), decided May 20, 2019. If

this case was not settled (and had Equifax not executed a binding Term Sheet in

March 2019), Equifax would have surely argued that the McConnell decision

would bar Plaintiffs’ common law claims under Georgia law.

      57.    Second, Equifax also argued in moving to dismiss that there are

questions under Georgia law whether most class members suffered a legally-

cognizable injury. In Collins v. Athens Orthopedic Clinic, 347 Ga. App. 13, 815

S.E.2d 13 (2018), the Georgia Court of Appeals specifically held that the costs of

precautionary measures to protect against the risk of future harm from a criminal

data breach are not recoverable under Georgia law. The Georgia Supreme Court

has accepted cert in the case, but has yet to decide the case.

      58.    Class Counsel took all steps necessary to ensure that we had all the

necessary information to advocate for a fair settlement that serves the best interests

of the Settlement Class. Based on the public information available regarding the

breach and Class Counsel’s extensive review of the factual record produced by


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Equifax, Class Counsel believes the Settlement is in the best interests of the

Settlement Class.

      59.    Finally, there is no indication that there are any conflicts between the

Settlement Class Representatives and the Settlement Class. Rather, Settlement

Class Representatives’ claims are substantially similar to the claims of the

Settlement Class. Each of them was impacted by the Data Breach due to the

unauthorized access to their personal information. Moreover, in crafting the

Settlement, Class Counsel took care to ensure that the relief was allocated

commensurate to the value of each class member’s respective claims – those that

suffered a greater Out-of-Pocket loss will be able to make a proportionately larger

claim than someone that did not.

      60.    In light of the totality of the circumstances, including the historic

relief provided to the class as described above, the Court should conclude that the

settlement is fair, reasonable, and adequate and likely to achieve final approval,

and therefore notice should issue to the class.

                    Continuing Appointment of Class Counsel

      61.    As discussed above, the Court previously appointed, Kenneth

Canfield, Amy E. Keller, Norman E. Siegel and Roy Barnes as Class Counsel

based on extensive applications provided to the Court. [Doc. 232] Class Counsel


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respectfully submit that they have diligently served the class and the Court in

litigating this case and presenting this Settlement for initial approval requesting

issuance of notice and therefore request a continuing appointment pursuant to Fed.

R. Civ. P. Rule 23(g) for purposes of implementing this Settlement.

      We declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the

foregoing is true and correct.

      Executed this 21st day of July, 2019.


                                      /s/ Kenneth S. Canfield
                                      Kenneth S. Canfield

                                      /s/ Amy E. Keller
                                      Amy E. Keller

                                      /s/ Norman E. Siegel
                                      Norman E. Siegel




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                                 Chart of Data Breach Settlement Involving Class of 10+ Million

                        Number of Class                                                        Non-Monetary                Credit / Financial
       Case             Members and PII          Monetary Settlement Benefits
                                                                                           Security-Related Relief         Acct. Monitoring
                         Compromised
In re: Yahoo! Inc.   Up to 194 million          $117.5 million cash fund which           Increased security budget      Yes, 2 years of credit
Customer Data        individuals w/              includes:                                 and security employee          monitoring through
Security Breach      compromised email                                                     headcount                      AllClear ID that may
Litig., No. 16-md-   addresses, passwords,      Reimbursement of class members’                                          be extended multiple
02752-LHK (N.D.      security questions          out-of-pocket costs up to $25,000        Implementation of security     years depending on
Cal.)                and answers, and            and time spent remedying issues           program compliant with         remaining funds
                     telephone numbers           up to 15 hours with documentation         NIST Cybersecurity
                     and dates of birth if       and 5 hours without                       Framework
Preliminary approval                             documentation at $25 per hour
                     provided                                                             Four years of third-party
granted: July 20,
2019                                            Alternative payments to class             risk assessments
                                                 members w/ credit monitoring for
                                                                                          Implementation of
                                                 $100 (can be increased to $358.80
                                                                                           vulnerability management
                                                 per individual)
                                                                                           schedules requiring critical
                                                2 years of credit monitoring (to be       issues to be resolved on set
                                                 extended if remaining funds)              schedule
                                                Compensate paid users of Yahoo!          Implementation of
                                                 for up to 25% of the amounts they         enhanced intrusion and
                                                 paid for email services                   anomaly detection tools
                                                Attorneys fees’ up to $30 million        Employee security training
                                                 and costs and expenses up to $2.5
                                                                                          Appointment of external
                                                 million
                                                                                           Chief Information Security
                                                Notice and administration costs up        Officer board of advisors
                                                 to $6 million

In re: Experian Data   14.93 million            $22 million cash fund which              Data security enhancements     Yes, 2 years of credit
Breach Litig., No.     individuals w/            includes:                                 to Experian’s network          monitoring through
8:15-cv-01592 (C.D.    compromised names,                                                                                 Identity Guard that
Cal.)                  addresses, SSNs,         Reimbursement of class members’          Remediation of identified      may be extended if
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                      dates of birth,             out-of-pocket costs up to $10,000          vulnerabilities                 certain conditions are
Final approval        identification              and time spent remedying issues                                            met
                                                                                            Heightened encryption
granted: May 30,      numbers, and other          up to 7 hours with documentation
                                                                                             throughout network and
2019                  PII                         and 2 hours without
                                                                                             user database
                                                  documentation at $20 per hour
                                                                                            Implementation of Security
                                                 2 years of credit monitoring at cost
                                                                                             First Program consisting of
                                                  of up to $2.5 million depending on
                                                                                             82 security-related projects
                                                  number of claimants
                                                                                            Hiring an additional 60 full-
                                                 Attorneys fees’ up to $10.5 million
                                                                                             time security employees
                                                  and costs and expenses up to
                                                  approx. $153,000

In re: Anthem, Inc.   79.15 million              $115 million cash fund which              Increased annual spending       Yes, 2 years of credit
Data Breach Litig.,   individuals w/              includes:                                  on data security for three      monitoring through
No. 15-md-02617-      compromised names,                                                     years                           Experian that may be
LHK (N.D. Cal.)       dates of birth, SSNs,      Reimbursement of class members’                                            extended multiple
                      healthcare ID               out-of-pocket costs up to $10,000         Implement cybersecurity         years depending on
                      numbers, addresses,         (up to $15 million of fund                 controls and reforms            remaining funds
Final approval                                    allocated for this purpose)                recommended by Plaintiffs’
                      and other PII
granted: Aug. 15,                                                                            cybersecurity experts
2018                                             Alternative payments to class
                                                  members w/ credit monitoring for          Change data retention
                                                  $50 (up to $13 million of fund             policies
                                                  allocated for this purpose)
                                                                                            Follow specific remediation
                                                 Access to fraud resolution services        recommendations
                                                  through Experian for all class
                                                                                            Perform annual IT security
                                                  members
                                                                                             risk assessments and
                                                 2 years of credit monitoring at a          settlement compliance
                                                  cost of $17 million (to be extended        review




                                                                       2
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                                                    if remaining funds)
                                                   Attorneys fees’ up to $37.95
                                                    million and costs and expenses up
                                                    to $2.14 million1
                                                   Notice and administration costs of
                                                    $23 million

In re: The Home        40 million individuals      $13 million cash fund                     Appointment of Chief         Yes, 18 months of
Depot, Inc.            with compromised                                                        Information Security         identity protection
                       payment card                $6.5 million for credit monitoring                                      services from Identity
Consumer Data                                                                                  Officer
Security Data          information                  services separate from cash fund                                        Guard
Breach Litig., No.                                                                            Required product and data
                                                   Up to $8.475 million in attorneys’
1:14-md-02583                                                                                  risk assessments
                       Up to 53 million with        fees and $300,000 in costs separate
(N.D. Ga.)                                          from cash fund2                           Heightened vendor
                       stolen email
                       addresses                                                               selection
                                                   Notice and administration costs of
Final approval                                      $750,000 separate from cash fund          Dynamic security program
granted: Aug. 23,                                                                              implementation
2016                                            Total Value: 29,025,0003
                                                                                              Employee education
                                                                                              Enhanced security
                                                                                               measures for payment cards

In re: Target Corp.    Up to 110 million           $10 million cash fund                     Appointment of Chief         No
Customer Data Sec.     individuals with                                                        Information Security
Breach Litig., No.     compromised                 Notice and administration costs of
                                                                                               Officer
14-md- 2522 (D.        payment card                 $6.57 million separate from cash
Minn.)                 information                  fund                                      Maintain written
                                                                                               information security
                                                   Up to $6.75 million in attorneys’
                                                                                               program
Final approval                                      fees separate from cash fund
granted: Nov. 15,                                                                             Maintain process to
                                                Total Value: $23,320,8164


1
  The full amount of fees and costs were not ultimately awarded.
2
  Home Depot, ECF No. 181-2 at ¶¶ 28, 38, 61.
3
  The full amount of fees and costs were not ultimately awarded, resulting in an actual total value of $28,468,800.97.


                                                                          3
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2015 (affirmed on                                                                            monitor for and respond to
appeal June 14,                                                                              information security events
2018)
                                                                                            Employee security training

In re Sony Gaming      60 million individuals    No fund; claims-made settlement       No                                 No
Networks and           w/ compromised             capped at $1 million with
Consumer Data          names, mailing             additional non-cash benefits
Security Breach        addresses, email
Litig., No. 3:11-md-   addresses, dates of       Reimbursement up to $2,500 for
02258 (S.D. Cal.)      birth, credit card         class members with unreimbursed
                       information, login         charges from identity theft (capped
                       credentials, answers       at $1 million)
Final approval
                       to security questions,    $14 million in non-cash benefits
granted: May 4,
                       purchase history           including free games,
2015
                                                  subscriptions, and credits for
                                                  various subclasses
                                                 Notice and administration costs of
                                                  $1.25 million to be paid separately
                                                 Attorneys fees’ up to $2.67 million
                                                  and costs and expenses of $77,724
                                                  to be paid separately

In re: Heartland       130 million               Settlement fund of $1 million and         Class Counsel employed        No
Payment Systems,       individuals w/             up to $2.4 million depending on            independent expert to
Inc. Customer Data     compromised                number of claims                           review the actions taken by
Security Breach        payment card                                                          Heartland to enhance the
Litig., 4:09-MD-       information               Reimbursement of class members’
                                                                                             security of its payment
2046 (S.D. Tex.)                                  out-of-pocket costs up to $175 or
                                                                                             processing systems and
                                                  $10,000 in cases of identity theft
                                                                                             determined Heartland took
                                                  and time spent remedying issues
Final approval                                                                               prudent and good faith
                                                  up to 5 hours with documentation
granted: March 20,                                                                           measures to minimize
                                                  at $10 per hour
                                                                                             likelihood of a future

4
 Target, ECF No. 482 at 35; see also ECF No. 645 at 8 (Final Approval Order) (noting that fee award of $6.75 million was 29% of total monetary
fund, equating to value of 23,275,862).


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2012                                             Attorneys fees’ up to $725,000 and          intrusion
                                                  costs and expenses up to $35,000
                                                  to be paid separately

In re: Countrywide     17 million individuals    No fund; claims-made settlement            Enhanced security            Yes, 2 years of credit
Financial Corp.        w/ compromised             capped at $6.5 million                      measures adopted by          monitoring services
Customer Data          names, SSNs,                                                           Countrywide and subject to   from Experian
                       addresses, telephone      Reimbursement of losses                                                  offered to 1.85
Security Breach                                                                               confirmatory discovery
Litig., No. 3:08-MD-   numbers, credit and        attributable to identity theft up to                                     million class
01998 (W.D. Ky.)       bank account               $50,000 per incident (capped at $5                                       members who did not
                       information, and           million)                                                                 receive prior offer
                       other financial           Reimbursement of out-of-pocket                                           from Countrywide
Final approval
                       information                expenses incurred as result of
granted: Aug. 23,
2010                                              identity theft (capped at $1.5
                                                  million)
                                                 Notice and administration costs of
                                                  approx. $6 million to be paid
                                                  separately
                                                 Attorneys fees’ up to $3.5 million
                                                  and costs and expenses up to
                                                  $125,000 to be paid separately
                                                 Service awards totaling $26,500 to
                                                  be paid separately

In re Department of    26.5 million              Settlement fund of $20 million         No                                No
Veterans Affairs       individuals with
(VA) Data Theft        compromised names,        Reimbursement of class members’
Litig., No. 06-0506    dates of birth, and        out-of-pocket costs up to $1,500
(JR) (D.D.C.)          SSNs                       with each claimant to receive a
                                                  minimum of $75

Final Approval                                   Balance paid to targeted military
granted: Sept. 11,                                cy pres recipients
2009                                             Notice and administration costs to
                                                  be paid from fund




                                                                       5
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                                             Attorneys fees’ of $3.6 million and
                                              costs and expenses of $157,076
                                              awarded from fund

In re TJX              45.7 million          No fund; claims-made settlement            Retain an independent      Yes, 3 years of credit
Companies Retail       individuals with       capped at $10 million                       expert to recommend data   monitoring services
Security Breach        compromised                                                        security practices to be   from Equifax for the
Litig., No. 07-10162   payment card          $15 check or $30 store voucher for                                     approx. 455,000 class
                                                                                          adopted by TJX and
(D. Mass.)             information            class members who certify they                                         members whose
                                                                                          accepted by Plaintiffs’
                                              made a purchase at TJX and spent                                       driver’s license or
                                                                                          expert
                                              more than $5 or 30 minutes as a                                        military, tax or state
Final approval                                result of the data breach (subject to      Enhanced computer          identification number
granted: Sept. 2,                             $10 million cap with checks and             systems                    may have been
2008                                          vouchers credited as $30 against                                       compromised
                                              cap)
                                             Additional $15 check or $30
                                              voucher for documented claims
                                              ($7 million cap on checks, no cap
                                              on vouchers)
                                             Reimbursement of driver’s license
                                              replacement costs and
                                              unreimbursed losses greater than
                                              $60 resulting from identity theft
                                              available to approx. 455,000 class
                                              members whose ID was
                                              compromised
                                             Notice and administration costs of
                                              approx. $4.5 million to be paid
                                              separately
                                             Attorneys fees’ up to $6.5 million
                                              and costs and expenses up to
                                              $155,000 to be paid separately




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